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                     Idealism Has a New Address                                                                                                        YOUTH PROGRAMMING
                         in Lower Manhattan                                                                                                        New Summer Program Seeks to
     U.S. SENATOR CROSSES THE RIVER TO TOAST PUBLIC SERVICE GROUP THAT
                                                                                                                                                 Introduce Kids to Computer Coding
    LAUNCHED HIS CAREER, AS QUIRK OF TAx LAW MAKES 40 RECTOR STREET A

                                                                                                                                           A
    MAGNET FOR EDUCATIONAL, CULTURAL, AND SOCIAL-JUSTICE ORGANIzATIONS                                                                                                   Text and photo by Marti Ann Cohen-Wolf




A
                                                              By Matthew Fenton
                                                                                                                                                  ll over the world kids are learning to code. (That’s “write computer pro-
                                                                                                                                           grams” for those not up on the current jargon.) In Estonia, the country that
                                                                                                                                           introduced Skype to the world, schools start by teaching it to six-year-olds.
      n often-overlooked 1920 office building, designed                                                                                    In England, computer science classes are mandatory in public schools for
by the architects who created Grand Central Terminal, is                                                                                   children ages five to 16. In 2016, Finland will make it part of the curriculum.
becoming a magnet for non-profit groups moving to                                                                                          Israel’s high school computer science program is one of the most demanding
Lower Manhattan. The latest public-service organization                                                                                    in the world. India is considering making it part of the standard curriculum.
to make the commercial condominium at 40 Rector Street                                                                                     While the United States is making a push for STEM (science, technology, en-
its home is the Urban Justice Center (UJC), a renowned                                                                                     gineering, math), we don’t have a national curriculum (or even a New York
non-profit that provides legal services and advocacy for                                                                                   City curriculum) that ensures learning to code.
New York’s most vulnerable populations. The UJC held                                                                                            When Battery Park City resident, entrepreneur Igor Lamser, started think-
a ribbon-cutting ceremony on March 2 in its new offices,                                                                                   ing about a new business, he knew he wanted to do something with kids. “I
where the organization has taken all 32,000 square feet                                                                                    knew that there was a need for something other than just athletics and crafts
of the building’s ninth floor.                                                                                                             and arts. I started thinking about what would be great to have for kids here
     From this facility, said Doug Lasdon, UJC’s founder                                                                                   in this neighborhood.” Influenced by the experiences of his own high-school
and executive director, the organization will, “continue                                                                                   age children, and the popularity of Girls Who Code (a national nonprofit or-
being a voice for the voiceless New Yorkers, serving the                                                                                   ganization that seeks to close the gender gap in the technology and engineer-
City’s most vulnerable and marginalized communities.”                                                                                      ing sectors by educating, inspiring, and equipping high school girls with the
UJC fields ten legal teams that specialize in helping pop-                                                                                 skills and resources to pursue computing careers), Mr. Lamser says, “the
ulations with few other places to turn for help, including                                                                                 biggest reason is because all of a sudden I just started hearing things about
victims of domestic violence, impoverished veterans,                                                                                       coding, coding, coding. What I thought about is there’s a whole bunch of
Iraqi refugees, sex workers, the mentally ill, and children                                                                                things out there as far as coding is concerned for girls, for teenagers, but there
who are gay, lesbian or transgender. UJC’s move to 40                                                                                      really isn’t anything for both sexes of younger kids that want to do coding.”
Rector was made possible by a $5 million grant from the
City Council, spearheaded by City Council member Mar-
garet Chin and Manhattan Borough President Gale
                                                                              A Condo for the Quixotic: 40 Rector Street: as it appeared
Brewer. Ms. Brewer told the UJC team, “people’s lives are
                                                                                shortly after its 1920 opening, when West Street was
                                                                                             the Hudson River waterfront
being saved because of your work.” Ms. Chin, whom Ms.                   closed over 11,000 cases benefitting 19,000 clients.
Lasdon called, “our guardian angel,” said, “Urban Justice                    The UJC’s move is part of a larger migration to the
has made our City so much better, and we look forward                   commercial condominium at 40 Rector Street by groups
to helping you build a stronger, more progressive City.”                trying to make the world a better place. At the building,
     U.S. Senator Cory Booker, whose first job after Yale               the UJC will be neighbors with the Grace Institute, which
Law School was as a UJC staff attorney, recalled, “I first              recently announced that it will soon move into the build-
worked for UJC in East Harlem, during a summer when                     ing. The Grace Institute, which provides tuition-free ed-
police sweeps were going on and so many of our young                    ucation and training in business and administrative skills
people were getting churned into the criminal justice sys-              to economically disadvantaged women, is relocating from
tem. We need to take our legal system and try to make it                the Upper East Side. When it started more than a century                                                                                                             Lower Manhattan’s first
a justice system again. Today, in many cities, so many of               ago, the organization saw classes in cookery, millinery, and
our young kids get ground into the criminal justice system              dressmaking as engines of upward social mobility. Today,                                                                                                             International Baccalaureate for
and even when they are let out, they still continue pay a               the Grace Institute (more than 45 percent of whose stu-                       Ashley Gavin and Igor Lamser have created a summer program to
price, whether because they were put in solitary confine-               dents are single mothers earning less than $10,000 per                                   introduce children to computer coding skills                                elementary & middle school
ment, which other countries consider torture, or because                year) focuses on instruction in computers, keyboarding,                 And so, with Ashley Gavin, who was the founding curriculum director
they can’t get jobs after a felony conviction for being in-             and business writing.                                              of Girls Who Code and has designed curriculum for The Dalton School,
volved with drugs on a level that, frankly, the last three                   Another will be Metropolitan College of New York              Hopscotch and Wesleyan University, Mr. Lamser started Kids N’ Coding. The
                                                                                                                                                                                                                                             Pine Street School combines two globally recognized best
                                                                                                                                                                                                                                             practices — Montessori and International Baccalaureate —
presidents have admitted to.”                                           (MCNY), which will occupy 110,00 square feet on three              first roll out will be this summer with coding camps for kids aged 6 to 13.                       for a uniquely powerful learning experience. The curriculum
     “I grew up in a middle-class, all-white town in New                upper floors, as well as renovating and reopening the              Each session is five half-days. The first one starts June 8, with a new camp
                                                                                                                                                                                                                                             includes real world applications, mastery in English and

Jersey,” Senator Booker recalled. “We were the first black              building’s former main entrance and grand lobby on West            each week throughout the summer.
                                                                                                                                                                                                                                             Spanish, community service, travel, substance, diversity and

family to move in, and we had to bring a court case to                  Street, which has been shuttered for decades. (In addition              “The main thrust of what we’re trying to do is allow kids to have logical,
                                                                                                                                                                                                                                             absolute engagement. It is a truly innovative way to prepare

make that happen. My father called us four raisins in a                 to the school’s entrance lobby, the ground floor will house        problem solving, critical thinking processes. They’ll be able to code simple
                                                                                                                                                                                                                                             students to be problem solvers and thought leaders.

                                                                        an admissions office and conference center.)                       things,” explains Mr. Lamser. “We’re trying to make kids think a different way.
                                                                                                                                           That’s what computer science is all about. That’s what coding is all about.”
                                                                                                                                                                                                                                             Now enrolling Kindergarten, 1st Grade & 2nd Grade for 2015-2016
                                                                             MCNY, the Grace Institute and UJC will be joining
                                                                        a herd of other public-service organizations that have re-              For more information, please browse kidsncoding.com.
                                                                        cently planted their flags at 40 Rector. The China Institute
                                                                        (a group founded in 1926 to foster understanding of
                                                                        China through programs in education, culture, business
                                                                        and art), Big Brothers Big Sisters, and the National Asso-
                                                                        ciation for the Advancement of Colored People, have
                                                                        also moved there, driven in part by a provision in the tax
                                                                        code that allows nonprofit organizations to avoid paying
                                                                        real estate tax on office space that they have purchased,
                                                                        but would be indirectly liable for in rented space. (The
                                                                        building is a commercial condominium, where offices are
                                                                        owned by their occupants, rather than rented.)
                                                                             Originally called the Barrett Building (for the pioneer-
                                                                        ing chemical company that was a leading manufacturer
                                                                                                                                                                                                                                                                 OPEN HOUSE DATES

                                                                        of roofing tar in the late 1800s, and was later absorbed
                                                                                                                                                                                                                                                                 January 21 & January 28
                                                                                                                                                                                                                                                                 9:30-10:30am & 5:30-6:30pm

                                                                        into the Allied Chemical conglomerate), 40 Rector was
                                                                                                                                                                                                                                                                 Space is limited. Please RSVP

                                                                        designed by the firm of Warren and Wetmore, seven years
                                                                                                                                                                                                                                                                 at RSVP@greenivy.com.
                                                                                                                                                                                                                                                                                                          Pine Street
                                                                        after the 1913 opening of Grand Central Terminal. The
                                                                                                                                                                                                                                                                 25 Pine Street
                                                                                                                                                       Colorful, kid-friendly interfaces, like this one, invite children aged                                                                             School
                                                                        firm was also famous in the Jazz Age for signature Man-
                                                                                                                                                                                                                                                                 between William & Nassau
  U.S. Senator Cory Booker (left), Urban Justice Center executive                                                                                            eight to 13 to cultivate computer programming skills
                                                                        hattan structures such as the Crown Building, the New
  director Doug Lasdon (center), Manhattan Borough President
                                                                        York Yacht Club and Steinway Hall.
   Gale Brewer (partially obscured), and City Council member
                                                                             The 17-story Renaissance Revival structure faced the
    Margaret Chin (in red) cut the ceremonial ribbon opening
            UJC’s new Lower Manhattan headquarters.
                                                                        Hudson River waterfront when it opened, but the subse-
cup of ice cream. He would tell me, ‘don’t you dare walk                quent development of Battery Park City, which is built                                               DOWNTOWN DAY CAMPS:                                                                  AGES 4-13
around like you hit a triple; you were born on third base.’             on landfill (partially comprised of spoil excavated from                                                                                   Memories That Last a Lifetime
He meant that this world demands something of us.”                      the World Trade Center foundations) pushed the shore-
    “This country will never live up to its truth until it              line back by several hundred feet, starting in the late
recognizes the value, the worth, and the dignity of every               1960s. (The building also served as the first headquarters
one of its citizens," Senator Booker continued. “We have                of the Battery Park City Authority.) In the 1970s, 40 Rec-
a Declaration of Independence, but the spiritual truth of               tor Street ceased to be a premium address and the build-
America is a declaration of interdependence: We need                    ing fell on hard times, becoming back office space for
each other. These bonds, these links have to be honored.”               number of City agencies. It was further eclipsed after the
                                                                                                                                                                                                                            SPACE IS FILLING UP FAST

    After UJC sent Mr. Booker to Newark to litigate on                  terrorist attacks of September 11, 2001, in the wake of                                                                                             REGISTER
behalf of slum residents, he left the organization in 1998              which, the Rector Street Pedestrian Bridge was built di-
to run (successfully) for City Council. In 2006, he was                 rectly in front of it. But that span was always intended to
                                                                                                                                                                                                                            ONLINE TO%"Y!
elected mayor of Newark, and in 2013 he was elected the                 be temporary, and is now expected to be demolished in
junior United States Senator from New Jersey.                           the next few years, when a permanent pedestrian bridge
    The UJC was founded by Mr. Lasdon in 1984, based                    is erected one block to the south, at West Thames Street.
on the then-unique idea of providing legal services di-                 This, plus the influx of high-profile public service organ-
rectly to the poor where they were: in soup kitchens, at                izations, marks a new renaissance for the building, which
homeless shelters and on the streets. The organization                  is eligible for both the State and National Registers of
expanded its vision to include exposing and eradicating                 Historic Places, but is currently listed on neither.
the legal and legislative causes of systemic poverty. Early                  “MCNY is delighted to announce a new permanent
UJC cases established the right of homeless people to re-               home in lower Manhattan,” said MCNY president Vinton                              Private PPPMt'JFME4QPSUTt1JFStKaratFtTFOOJTt"SUT$rBGUTt.VTJD%SVNNJOH
ceive public assistance and held the City was legally re-               Thompson. “This facility will support our highly regarded                     .oveNent t4tory PiratFTt4oOH4howT tWeekly'ielETriQT t$IPiDe TJNF'PS4FOiPS%JWJTJPO$BNQFST
sponsible for the plight of youth who age out of the                    professional degree programs, and we are starting to talk
foster care system. Today, UJC has more than 120 staff                  to other non-profit condominium buyers about turning                                                                                                                                                                         X BUSING
in offices throughout the five boroughs. In 2014, UJC                   the building into a beehive of collaboration.”
                                                                                                                                                                                                                      wwwNBOIattanyPVUI.orH
                                                                                                                                                                                                            Tribeca | Battery Park City | Lower Manhattan                                            AVAILABLE




                                                                                                                                                                                  SUNDAYS
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                                                                                                                                                                            NEW
                                                                                                                                                                                   45-minute
                                                                                                                                                                                   45-minute service
                                                                                                                                                                                             service Sundays
                                                                                                                                                                                                     Sunda
                                                                                                                                                                                                      undayys at 9:15am.
                                                                                                                                                                                   St. Paul’s Chapel | Broadwa
                                                                                                                                                                                                            wayy and Fulton Street
            Relaxed. Participatory. Joyful.                                                                                                                                        trinit
                                                                                                                                                                                     initywal
                                                                                                                                                                                          ywallstreet.org/stpauls
                                                                                                     Case 1:15-cv-06119-AJN-JLC Document 373-27 Filed 06/19/17 Page 2 of 40


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 ELECTED OFFICIALS
continued from page 1
                                                      EYES TO THE SKY                                     April 4 - 17, 2015
  PUSH BPCA ON                                                                                                                                                                                                                                                            Arrivals &
   PUBLIC ACCESS
                                                      PASCHAL MOON — PASSOVER, EASTER AND SPRING STARGAZING
  TO COMMUNITY
                                                                                                                                                                                                                                                                          Departures
     FACILITIES
                                                      Each year, the dates of Passover and Easter are determined by the date of the first full                                                                                                                   Cruise Ships in the Harbor
                                                      moon after the vernal equinox, known as the paschal moon in the Judeo-Christian tradi-
elected officials said, “we made clear                tion. Passover begins on the day of the paschal moon, whereas Easter is observed on the
that the use of Battery Park City’s                   first Sunday following the full moon that follows the equinox.
recreational fields should be priori-
tized for locally-based, non-profit,
                                                                                                                                                                                                                                                          Many ships pass Battery Park City on their way to and

youth recreation organizations—par-
                                                                                                                                                                                                                                                         from the midtown passenger ship terminal. Others may
                                                      This year the equinox was March 20th. The first day of Passover is Saturday, April 4th,                                                                                                            be seen on their way to or from docks in Brooklyn and
ticularly our long-serving Downtown                   when the moon becomes full at 8:05am EDT. The first Passover Seder is celebrated Fri-                                                                                                                Bayonne. Stated times, when appropriate, are for
Little League and Downtown Soccer                     day evening the 3rd because the Jewish calendar date begins at sundown of the preced-                                                                                                               passing the Colgate Clock and are based on sighting
League—as originally intended.
                                                                                                                                                                                                                                                              histories, published schedules and intuition.
                                                      ing night. Easter Sunday is April 5th, the first Sunday after the first full moon after the
After hearing concerns from Down-
                                                                                                                                                                                                                                                         they are also subject to tides, fog, winds, freak waves,
                                                      equinox. Before the advent of ecclesiastical calendars the dating of these holidays was                                                                                                               hurricanes and the whims of upper management.
town Little League about proposed
field-time reductions in the coming
                                                      primarily based on astronomical observations and could change in response to the har-
                                                                                                                                                                                                                                                       Wednesday, April 1     MV Europa 2              6:15a      9:30p Hamburg, Germany
                                                                                                                                                                                                                                                                                             INBOUND OUTBOUND
season, we worked to ensure that
                                                      vest of the spring season’s crops in the Near East. Currently, the rare date that varies
                                                                                                                                                                                                                                                       Sunday, April 5        Norwegian Breakaway      7:15a      3:30p  Great Stirrup Cay
DLL’s thousand-plus Lower Manhat-                     from the vernal equinox formula is dictated by an ecclesiastical calendar.
                                                                                                                                                                                                                                                                              Quantum of the Seas      6:15a(Bay) 4:30p Bahamas Cruise
tan kids will have needed access to
                                                                                                                                                                                                                                                       Monday, April 6        Norwegian Gem            9:15a      4:30p San Juan
Battery Park City fields this Spring.”
                                                                                                                                                                                                                                                       Sunday, April 12       Norwegian Gem            9:15a      4:30p Great Stirrup Cay
                                                      The New York Amateur Astronomy Association (NYAAA) opens its downtown stargazing season on the High Line, 10th Avenue near the 14th Street en-
     BPCA president Shari Hyman
                                                                                                                                                                                                                                                                              Quantum of the Seas      6:15a(Bay)4:30pBahamas Cruise
                                                      trance, on April 7th at dusk, that’s about 8 o’clock. The season runs every Tuesday through the end of October. Daylight stargazing — safe solar view-
said, “we had a very productive
meeting with our elected officials last                                                                                                                                                                                                                Tuesday, April 14      Costa Atlantica          In port overnight
                                                      ing — takes place on the High Line beginning at 6pm of the first Tuesday of the month starting in May. Professionals and knowledgeable volunteers
week to discuss both the North Cove
                                                      conduct observing both naked eye and with telescopes for AAA members and the public. The organization has a full schedule of opportunities to en-                                                Wednesday, April 15 Norwegian Gem               9:15a       4:30p      St. Maarten
Marina and our ball fields. With re-                  gage in astronomy at many locations throughout the city. For up-to-date information, go to http://www.aaa.org/                                                                                   Thursday, April 16     Costa Atlantica          World Cruise
gard to North Cove Marina, we reit-                                                                                                                                                              Judy Isacoff                                          Sunday, April 19       Norwegian Breakaway      7:15a       3:30p   Great Stirrup Cay
erated our commitment to com-                                                                                                                                                               NaturesTurn.org                                            Wednesday, April 22 Amadea                      7:15a       In port overnight
munity programming for adults and                                                                                                                                                                                                                      Thursday, April 23     Amadea                   6:30p       Hamburg via Canada
children that is both affordable and
accessible and our common interest                   Calendar                                        Please confirm information as details may have changed since we compiled this calendar


                                                     MON 6                                           WED 8                                                                                                                                                                                             SAT 18
in ensuring that programming for
the marina reflects this. With respect                                                                                                                Celebrating Armenian                          cusses her debut graphic novel "Baddawi",         Steal a Pencil for Me
                                                                                                Glittering World:                                     Culture                                       an intimate narration that documents grow-        Documentary film of the true story of Jack
                                                     Scrabble Day                                                                                                                                                                                                                                      Building Blocks
to the ball fields, we acknowledged
                                                                                                                                                                                                    ing up as a Palestinian refugee in Lebanon        and Ina Polak, and the secret love letters
                                                     Adults play Scrabble at the Tribeca branch Navajo Jewelry of the
our shared priority to provide local                                                                                                                  In this concert, renowned Armenian-Ameri-
non-profit youth leagues, along with                                                                                                                                                                during the civil war and Lebanon's constant       they wrote which sustained them during the       Hands-on exploration and learn about dif-
                                                                                                                                                      can 'oudist and musician, Ara Dinkjian pays
                                                     of the New York Public Library, 9 Murray Yazzi Family                                                                                          state of political turmoil. $10, $5. 7pm.         horrors of war. The screening will be intro-     ferent materials architects use to construct
                                                                                                                                                      special tribute to the tribulations and
                                                     Street. Free. 12pm. New York Public Library.    Discussion about Navajo jewelry through                                                        Alwan for the Arts, 16 Beaver Street, 4th fl.     duced by Jack and Ina’s daughter, Margrit        buildings. Then, using stacking blocks, kids
                                                                                                                                                      reslience of the Armenian people with a
                                                     212-732-8186. www.nypl.or                       the lens of the gifted Yazzi family of Gallup,                                                 alwanforthearts.org                               Polak, and their granddaughter, Sofi, and        will construct the sturdiest tower and recre-
                                                                                                                                                      new album of Armenian songs entitled
                                                                                                     NM. The new exhibition places Navajo jew-                                                                                                                                                         ate famous New York Skyscrapers! Ages 4-
                                                                                                                                                                                                    TUE 14
                                                                                                                                                      "1915-2015 Truth & Hope". Dinkjian, on                                                          will include the unveiling of new video
                                                                                                     elry making within its historical context of                                                                                                     footage of the couple in the AFC gallery.        8. RSVP required. $5. 10:30am-11:45am.
                                                                                                                                                      'oud, will be accompanied by a string quar-
                                                                                                     art and commerce, illustrates its develop-                                                                                                       Space limited. Reservations recommended.         Skyscraper Museum, 39 Battery Place.
                                                                                                                                                      tet and guest musician, Tamer Pınarbaşı, on
                                                                                                     ment as a form of cultural expression,and                                                      Pen Parentis                                      All commemorative events in 2015 are free        www.skyscraper.org
                                                                                                                                                      qanun. $20. 8pm. Alwan for the Arts, 16
                                                                                                     explores the meanings behind its symbol-                                                       Fantasy Salon with with Lev Grossman,             for Holocaust survivors. $8, $5. 6:30pm-
                                                                                                                                                      Beaver Street, 4th fl. alwanforthearts.org
                                                                                                     ism. Free. 4pm-5pm. Smithsonian's Na-                                                          Marly Youmans, and Kelly Link. The night          8:30pm. Anne Frank Center, 44 Park Place.        Exodus: Dreams of
                                                                                                                                                      SAT 11                                                                                                                                           the Promised Land in
                                                                                                     tional Museum of the American IndianOne                                                        begins at 7pm with networking over wine,          www.annefrank.com. 212 431 7993
                                                                                                     Bowling Green. www.americanindian.si.edu                                                       compliments of Andaz Wall Street. Readings
                                                                                                                                                                                                                                                                                                       Antebellum America
                                                                                                                                                      Tax Aid and Preparation                                                                         THU 16
                                                                                                                                                                                                    and signings will be followed by Q&A. Pen
                                                                                                     THU 9                                                                                          Parentis Literary Salons were founded to                                                           Concert. The enduring power of liberation
                                                                                                                                                      Courtesy of AARP. Tribeca branch of the New                                                                                                      imagery in the early American conscious-
                                                                                                                                                                                                    celebrate the creative work of writers that       Tribeca Film Festival
                                                                                                     Traces of the                                    York Public Library, 9 Murray St. Free.                                                                                                          ness comes to life through early spirituals
Elected officials want to protect public use of
                                                                                                     Underground Railroad                             10:30am-3pm. www.nypl.org
                                                                                                                                                                                                    are also parents, and are a great place to        Drive In                                         and Shaker hymns performed with historic
                                                                                                     in Tribeca                                                                                                                                       Celebrate the 14th Tribeca Film Festival at      texts selected from abolitionist writings,
      facilities like North Cove Marina
schools and school-based organiza-                                                                                                                                                                                                                    the annual Drive-In on the Waterfront Plaza      slave and suffragette narratives. Fraunces
                                                                                                     From Frederick Douglass to David Ruggles
tions, with field time. The current                                                                                                                                                                                                                   at Brookfield Place. Watch new and classic       Tavern, one of the first sites of American
spring season reflects this commit-                  History of the Building of                      to Sojourner Truth, the stories of resistance
                                                                                                                                                                                                                                                      films under the stars, along with fun pre-       government, sets the stage for starkly beau-
ment as these groups received 95                     the Twin Towers                                 to the slave system in the North and South
                                                                                                                                                                                                                                                      show activities and treats for the entire fam-   tiful American repertoire. Performances by
                                                                                                     are tied to downtown Manhattan. Tribeca is
percent of the total available permits               Architectural historian and author Anthony                                                                                                                                                       ily. Also April 17 and 18. Check website for     The Western Wind Vocal Ensemble and
                                                                                                     little known as the cradle of early black
for the season.”                                     Robins shares stories of the history and ar-                                                                                                                                                     details. www.brookfieldplaceny.com               guest actors. $25-$100. 4pm. Fraunces Tav-
                                                                                                     leadership, but its network of vigilance com-
     The six elected officials seemed                chitecture of the original World Trade Center
                                                                                                     mittees, publications, church activists and                                                                                                      A Moment of Zen                                  ern Museum, 54 Pearl St. www.frauncestav-
                                                                                                                                                                                                                                                      Meditation Group
to view neither of these issues as set-              complex. Free. 6:30pm. Tribute WTC, 120
                                                                                                     escaped slaves formed an early society ded-                                                                                                                                                       ernmuseum.org. 212-425-1776
tled, however, responding that, “we                  Liberty Street. www.tributewtc.org
appreciate BPCA’s openness to the                                                                    icated to defying oppressive laws and racist                                                                                                     Scientific studies show that just 10 minutes

                                                     TUE 7
priorities we raised, but we will con-                                                               ideas. Meeting location is provided after                                                                                                        of meditation a day relieves stress and im-               COMING SOON!
tinue to push until we have a firm                                                                   ticket is purchased. $20, $15. 2pm. Munic-                                                                                                       proves your health and well-being. Take
                                                                                                     ipal Art Society. www.mas.org                                                                                                                    time out of your busy schedule to come to
commitment going forward and a
                                                     A City for Children
                                                                                                                                                                                                                                                      the New Amsterdam library to learn medi-
                                                                                                     FRI         10
positive outcome in the neighbor-
                                                     Book talk by Marta Gutman. In her study
hood, at North Cove Marina and at                                                                                                                                                                                                                     tation and find inner peace. Once a month
                                                     of everyday architecture and 19th- and
the ball fields.” In a conclusion that                                                                                                                                                                                                                we will teach, practice and discuss medita-
                                                     early 20th-century urban reformers who          Walking Tour: George
                                                                                                                                                                                                                                 Robert Simko
refers to a broader issue, manifested                                                                                                                    On Monday April 6th at 630pm, architectural historian and author Anthony Robins              tion. No prior experience necessary -- just
                                                     were women, Marta Gutman focuses on the
in both the controversy over North
                                                     use and adaptive reuse of everyday build-       Washington's New York                                shares stories of the history and architecture of the original World Trade Center.          bring an open mind! Free. 1pm-1:45pm.
Cove Marina and concerns about the                                                                                                                                              Free at Tribute WTC, 120 Liberty Street                               Tribeca branch of the New York Public Li-
                                                     ings in Oakland, California, to make the city   90-minute walking tour of the Financial Dis-
BPCA’s process for allocating time
                                                                                                     trict, with an emphasis on George Washing-                                                                                                       brary, 9 Murray Street. www.nypl.org
                                                     a better place for children. Free. 6:30pm.
on the ball fields, the elected officials
                                                                                                     ton, Alexander Hamilton and 18th century                                                       meet industry notables.Free. 7pm. Hotel           Work Up 1.2
                                                                                                                                                      MON 13
said that the Authority, “must prior-                Skyscraper Museum, 39 Battery Place.
                                                                                                     financial history. Price includes museum ad-                                                   Andaz, 75 Wall St. www.penparentis.org            Dance performances by Evvie Allison, Ayano
itize residents and the broader local                www.skyscraper.org
                                                                                                                                                                                                                                                      Elson & Alex Romania. $20, $15. 7:30pm.
                                                                                                                                                                                                    WED 15
                                                                                                     mission. $15. 11am. Museum of American
community, rather than a narrow few
                                                                                                     Finance, 48 Wall Street. 212.908.4110            Baddawi                                                                                         Gibney Dance, 280 Broadway, Entrance at
with the deepest pockets, when con-
                                                                                                     www.moaf.org                                     Palestinian author Leila Abdelrazaq's dis-                                                      53 Chambers St. Also April 17 and 18. 212-
sidering access to the amenities avail-
                                                                                                                                                                                                    Toddler Music                                     677-8560. www.gibneydance.org
able in the community.”
                                                                                                                                                                                                    with Irka Mateo                                   Yom Hashoah: Holocaust
                                                                                                                                                                                                                                                                                                         To Advertise: 212-912-1106

                                                                                                                                                                                                    Drop in with your toddlers (18 months - 4         Remembrance Day
                                                                                                                                                                                                    years) and learn about Taino culture              Come to the Museum to remember those                    Jack’s
                                                                                                                                                                                                                                                                                                            Hair Salon
                                                                                                                                                                                                    through stories, song, movement and               who were lost and learn from those who
                                                                                                                                                                                                    hands-on activities. Repeated at 11:15am.         survived. Day-long observance. Donations
                                                                                                                                                                                                    Free. 10:15am. Smithsonian's National Mu-         welcome. Free. 10am-5pm. Museum of Jew-
                                                                                                                                                                                                                                                                                                           New York Mercantile Exchange
  THE BROADSHEET INC                                                                                                                                                                                seum of the American Indian, One Bowling
                                                                                                                                                                                                                                                                                                              1 North End Avenue
                                                                                                                                                                                                                                                      ish Heritage - A Living Memorial to the Holo-
        Editor in chief ~ Matthew Fenton                                                                                                                                                            Green. www.americanindian.si.edu                  caust, 36 Battery Place. 646-437-4202.                 212-619-4030
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                                                     GOOD FRIDAY& EASTER                                                                                                                                                                    AT TRINITY WALL STREET
                                            GOOD FRIDAY · April 3                                                                                                                        EASTER EVE · April 4
                                            Good Friday Worship, J.S. Bach’s St. John Passion                                                                                            The Great Vigil of Easter with Holy Baptism
                                            Trinity Church, 12–3pm                                                                                                                       St. Paul’s Chapel, 8—10pm
                                                                                                                                                                                                                                                                                                                          Trinity Church
                                                                                                                                                                                                                                                                                                                    Broadway at Wall Street
                                            Veneration of the Cross & Personal Meditation                                                                                                EASTER DAY · April 5
                                            Trinity Church, All Saints’ Chapel, 3–4pm                                                                                                                                                                                                                                  St. Paul’s Chapel
                                                                                                                                                                                         Easter Festive Eucharists                                                                                              Broadway and Fulton Street

                                            Good Friday Family Liturgy | Trinity Church, 4—5pm                                                                                           St. Paul’s Chapel, 8am | Trinity Church, 9am                           and 11:15am                                        trinitywallstreet.org
                                                                                                                                                                                                                                                                                                                            212.602.0800
                                                                                                                                                                                         Easter Festive Eucharist for Families with Children                                                           The Rev. Dr. William Lupfer, Rector
                                                                                                            Watch live webcast at trinitywallstreet.org                                  St. Paul’s Chapel, 9:15am                                                                                      The Rev. Phillip A. Jackson, Vicar
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                                  Downtown News & Events
                                               Thursday April 30, 2015




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            BPCA Paid Publicist $45,000 for
            'Tangible and Intangible Activity'
            Authority Awarded Contract Using 'Informal Process' Outside of Normal
            Bidding Procedure; 'Discretionary' Retainer Just Under Limit That Would
            Have Triggered Stricter Policy




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               The Battery Park City Authority, shown here at the January 22 board meeting (during
                 which it awarded the management contract for North Cove Marina to Brookfield
                Properties), faced a firestorm of criticism over the decision. It was during this period
              that the BPCA paid $45,000 to an outside public relations consultant to help burnish its
                    image among the press and the public. This has raised questions about the
                circumstances under which the firm was hired and what work it did in exchange for
                                                         the fee.


            Last fall and earlier this year, the Battery Park City Authority (BPCA) paid $45,000 in
            taxpayer money to a politically connected public relations firm, which was awarded
            the contract under what an Authority spokesman calls an "informal" process, during a
            period when the Authority had little contact with the media and few stories about it
            appeared in the press. The BPCA says that the firm helped arrange favorable
            coverage of the Authority in the New York Times, the New York Daily News, and
            the New York Post. But reporters at these newspapers say that the consultant hired
            by the BPCA never spoke to them, or else played a minor role in their stories

            The BPCA's annual Procurement Report, part of its required yearly filings with the
            State, says that Hiltzik Strategies was retained by the Authority on September 22 of
            last year, and continued to work through February 6 of this year. Billing statements
            and a contract disclosed by the BPCA confirm that the firm was paid $10,000 per
            month for the first four months of that period, and an additional $5,000 for the
            remaining fraction of a month between January 22 and February 6. The contract was
            described as "consulting services" for "strategic communications."


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            When the Broadsheet asked the BPCA how many hours of work Hiltzik Strategies
            performed during this period, and what hourly rate that amounted to, Authority
            spokesman Kevin McCabe answered, "Hiltzik performed strategic planning and
            targeted public relations services based on direction provided by BPCA. They were
            paid on a retainer basis, not an hourly rate basis."

            Although the BPCA's Procurement Report states that the contract for this work was
            awarded to Hiltzik Strategies through competitive bidding, there is no record of a
            Request for Proposals (RFP), the normal manner of soliciting bids for such a
            contract, on the BPCA's website. This website contains entries for dozens of
            contracts put out to competitive bid during throughout 2014, some of them for
            services as mundane as planting trees and printing postcards. Nor is there any
            mention of such an RFP on the website of the New York State Contract Reporter, a
            central clearinghouse for such bid solicitations.

            As a result, it appears that other firms were not aware of (and were thus unable to bid
            on) the BPCA's desire for a strategic communications consultant. Mr. McCabe
            responded that, "there was no formal RFP process. Instead, there was a telephone
            solicitation to two firms." Mr. McCabe continued that these firms, "were interviewed
            by a special committee formed by BPCA to identify a firm for a short-term contract
            for strategic public relations services. Hiltzik was one of those two firms, and it was
            the successful recipient of the contract." The BPCA has not disclosed the name of
            the second bidder, so the Broadsheet has not been able to confirm this account.

            "Based on standard New York State procurement regulations," Mr. McCabe added,
            "discretionary awards of less than $50,000 are permitted with an informal bidding
            process based on industry standards for these type of smaller procurements."

            The Broadsheet could find no published mention of
            Hiltzik Strategies ever having represented a New York
            State government agency or authority in the past, work
            that might arguably credential the firm to represent the
            BPCA. Asked for clarification on this point, Mr.
            McCabe said, "the firm and its principal are well-known
            in the public sector and political arenas. Hiltzik's team
            has extensive government-sector experience, having
            handled communications for both elected and
            government officials in New York City and Albany."
            The BPCA did not respond to a request for the names
            of government agencies that Hiltzik Strategies has
            worked for in the past. A spokesman for Hiltzik
                                                                                                    Hiltzik Strategies, which
            Strategies did respond to a request for comment for this                                  specializes in "crises
            story.                                                                                    management," has
                                                                                                represented a diverse range
            Hiltzik Strategies was founded by Matthew Hiltzik, a                                 of public figures from Hillary
            Democratis political operative who has advised the                                       Clinton to Bill Cosby

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            campaigns of a roster of influential elected officials in New York State, including
            former U.S. Senator (now presidential candidate) Hillary Clinton, U.S. Senator Chuck
            Schumer, former State Attorney General and Governor Eliot Spitzer, and State
            Comptroller Thomas DiNapoli. His firm bills itself as a crisis management specialist,
            and has most recently attracted notice advising comedian Bill Cosby as he battled
            multiple allegations of sexual assault, as well as Ray Rice, the National Football
            League running back who was videotaped punching his wife on an elevator.

            It was not immediately clear what crisis the BPCA was facing between September,
            2014 and February of this year that would call for hiring a firm that specializes in
            advising clients as they deal with disastrous publicity. One possibility would be the
            controversy over North Cove Marina, the management contract that the BPCA took
            away from highly regarded local resident and small businessman Michael Fortenbaugh
            and awarded to Brookfield Properties, amid vociferous opposition from the
            community and local elected officials. But this scenario appears unlikely, because
            responses to the North Cove RFP were not received by the BPCA until October 24,
            a full month after Hiltzik Strategies was retained. For the BPCA to retain the Hiltzik
            firm to manage public opinion about the North Cove selection, it would have been
            necessary for the Authority to have known in September of last year, long before it
            received any proposals, that it was going to make a choice that would inspire
            widespread criticism.

            Mr. McCabe responded, "Crisis management is only one of the services Hiltzik
            Strategies provides. Hiltzik also provides strategic counsel and positioning, profile
            management, message development, media training, media relations, and brand-
            building. Crisis management is a loosely-used term to refer to managing negative
            press, not necessarily a crisis. Hiltzik was especially helpful in presenting BPCA's
            perspective in a positive light." He added that, "The firm represented the interests of
            BPCA and often had to mitigate negative news stories that appeared."

            When the Broadsheet requested copies of work product created by Hiltzik Strategies,
            such as press releases, brochures, informational videos, and strategy memoranda, the
            Authority declined to provide any, but offered as examples of the Hiltzik firm's work
            three stories that appeared in the New York Times, and referred to unspecified other
            stories that the BPCA says appeared in the New York Daily News and the New York
            Post.

            The reporters who wrote two of these articles for the New York Times described for
            the Broadsheet the role played by Hiltzik Strategies in their stories. David Dunlap,
            who wrote a piece about the opening of Pier A that appeared on January 14, said,
            "the Authority's spokesperson, Robin Forst, pointed me toward Hiltzik, and they
            arranged for me to speak to BPCA president Shari Hyman." It is unclear what value
            was added by Hiltzik acting as a go-between. Ms. Forst is the BPCA's vice president
            of external relations, a post that encompasses dealings with the community, other
            government agencies, and the press. In any case, Mr. Dunlap's story, which is 835
            words long, contained a single quote from Ms. Hyman, which is 25 words long. 
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            The second story Mr. McCabe pointed to was written by Anemona Hartocollis, and
            appeared on December 15. It dealt directly with the controversy over North Cove
            Marina. Ms. Hartocollis told the Broadsheet, "I don't really remember anybody,"
            from Hiltzik Strategies. But, after a review of her e-mail from that period, she
            recalled, "somebody from that company may have given me the Authority's side of
            the story. They might have been helpful, but they were certainly not instigators."
            Indeed, Ms. Hartocollis's story is 1,097 words long, but contains only a 63-word
            statement from the Authority, and does not quote or identify anyone from Hiltzik
            Strategies as representing the BPCA. The third New York Times story, about
            shopping and dining in Battery Park City, appeared on April 2 of this year. At 848
            words, it contains a single ten-word quote by Ms. Hyman. The Broadsheet could not
            determine what role (if any) Hiltzik Strategies played in this story, because the author,
            Paola Singer, is a freelancer and did not respond to requests for comment.




             
            Mr. McCabe also pointed to coverage in the New York Daily News and the New
            York Post as examples of the results produced by Hiltzik Strategies. During the
            period when Hiltzik worked for the BPCA, the Daily News ran two stories that
            mentioned the BPCA. Both were written by Tobias Salinger and both covered the
            controversy surrounding North Cove Marina. (They appeared on January 20 and 22.)
            Mr. Salinger told the Broadsheet, "I never spoke with Hiltzik Strategies, or anyone
            who works for them. The only person I dealt with was the BPCA's in-house
            spokesperson, Robin Forst. She was their mechanism for responding to the media."

            Mr. McCabe additionally indicated that Hiltzik Strategies helped the Authority secure
            favorable coverage in the New York Post. But a search of the Post's website indicates
            that the newspaper ran only one article about the BPCA during the time Hiltzik
            worked for the Authority. That was published on October 5, two weeks after Hiltzik
            began working for the BCPA. This story focused on BPCA executives receiving raises
            of up to $30,000. It is not clear how this article could be construed as favorable. But
            the authors of the story, Isabel Vincent and Melissa Klein, told the Broadsheet, "we
            never dealt with anyone from Hiltzik Strategies for our salary story." They added that,
            Robin Forst, "the spokeswoman for BPCA handled our requests for information."

            But Mr. McCabe contended that, "BPCA regularly receives multiple media inquiries
            and currently has no in-house press or communications officer, hence the need to
            outsource these services."
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            "Hiltzik collaborated with BPCA staff on internal and external communications," Mr.
            McCabe continued, "including drafting public releases, statements, remarks, and
            reports." During the four and one-half months that Hiltzik Strategies worked for the
            BPCA, the Authority held no press conferences and issued only a handful of
            documents that might be described as press releases. A review of the News section
            on the BPCA website shows that the vast majority of these were legally required
            public notices, consisting of no more than three sentences, announcing upcoming
            meetings of the BPCA's board. In January, there was a paragraph-length notice about
            snow removal procedures, along with a one-sentence notice about applications for
            use of the ballfields being available. In December and October, there were three short
            profiles of BPCA staff members.

            The one document that seems clearly to have been intended as a press release was
            the January 22 announcement that the BPCA had selected Brookfield Properties as
            the new operator of North Cove Marina. But it is not clear whether this was written
            by anybody from Hiltzik Strategies, by BPCA personnel, or by an employee of
            Brookfield. The contact number at the bottom of this document directs inquires to
            Ms. Forst's telephone number at the BPCA, and not to Hiltzik Strategies.

            "Managing external communications about BPCA is both a tangible and intangible
            activity," Mr. McCabe contended. "Much of Hiltzik's work may be tangibly
            documented or intangibly reflected in the strategic mitigation of negative press about
            BPCA." He added that, "BPCA was very pleased with the quality of the press that
            was developed and secured by Hiltzik during the several months of their term work
            on our account."
             
                                                               Matthew Fenton
                                                    Top and Bottom Photos by Robert Simko




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            Aid for Nepal




            The immense and catastrophic power of Nature has once more been unleashed, this
            time on Nepal, and its people. The photos above and below attest to this unexpected
            and massive power. The Financial District Lions Club is collecting donations to aid
            the victims. Funds collected will be sent to the Lions Clubs International in Nepal for
            distribution to where it is most needed. 100% of funds contributed will to causes the
            Lions support. 
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            You may donate through pay pal here

            or you may visit FiDi Lions Club webpage here and click "DONATE".

            To view more pictures of the damage, please click here. 
                                                           Photos Courtesy of Imgur.com




            Calendar
             




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            Greenmarkets:
            Bowling Green: 8am - 5pm
            Andaz Farmers Market: 11am - 6pm at the Andaz Wall Street Plaza (near Wall &
            Water Streets)
            Water Street: 8am - 6pm (between Hanover Square and Broad Street, through Nov.
            20)
            Seaport Youthmarket: 12 - 5pm (19 Fulton Street)

            Downtown Libraries
            Battery Park City Library
            Thurs. 12-8pm. 175 North End Avenue. 212 790-3499. nypl.org
            New Amsterdam Library
            Thurs. 10am-6pm. 9 Murray Street 212 732-8186. nypl.org




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            Poem in Your Pocket Day Neighborhood Poetry Read-In
            Join our young pocket-poets and other special guests for an afternoon of readings
            and fun! We invite you to bring a poem of your choice to share, or find one here at
            Poets House. A great after-school event for families and poetry lovers of all ages, and
            a festive culmination of our year-long work with local school children. 10 River
            Terrace. free. 3 - 6 pm. www.poetshouse.org
             
            Computer and E-book Assistance for seniors at the Battery Park City Branch
            Library, 175 North End Avenue. 
            Call 212 790 3499 to schedule a one-on-one session with a librarian to have your
            questions answered-everything from introduction to computers, putting library books
            on your e-reader, accessing the internet to advanced searches using the library's
            databases. 
             
                                                              Photos by Robert Simko




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            Today in History
             




                                    George Washington's first inauguration, at Federal Hall
             
            311 - Emperor Galerius legally recognizes Christians in the Roman Empire
            1772 - John Clais patents first scale
            1789 - George Washington inaugurated as first president of the Unites States
            1803 - The territory of the United States doubles in size through the Louisiana
            Purchase
            1808 - First practical typewriter finished by Italian Pellegrini Turri
            1821 - Nicaragua declares independence from Spain
            1859 - Charles Dickens' A Tale of Two Cities is first published in literary periodical All
            the Year Round. The great literary work was presented in weekly installments which
            lasted until November 26th.
            1864 - New York becomes the first state to charge a hunting license fee
            1904 - The walk-away edible ice cream cone
            made its American debut at the 1904 Saint Louis
            World's Fair. Nobody knows for certain who
            made the first ice cream cone. Paper and metal
            cones had been used in Europe for some time
            to hold ice cream. Lebanese immigrant, Abe
            Doumar built one of the first machines in the

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            United States for making ice cream cones and
            created waffle type cones by adapting a waffle
            iron into a cone oven.
            1925 - Automaker Dodge Brothers,
            Incorporated is sold to Dillon, Read and
            Company for one-hundred and forty-six million
            dollars with an additional fifty million dollars
            that went to charity.
            1939 - New York World's Fair opens. One of
            the first exhibits to receive attention was the
            Westinghouse Time Capsule, which was not to
            be opened for five-thousand years (the year
            6939). The time capsule was a tube containing
            writings by Albert Einstein and Thomas Mann,
            copies of Life Magazine, a Mickey Mouse watch,
            a Gillette Safety Razor, a kewpie doll, a dollar in
            change, a pack of Camel cigarettes, millions of
            pages of text on microfilm, and much more.
            The capsule also contained seeds of foods in
            common use at the time.                                  Cover of serial Tale of Two
            1961 - First shuttle flights between Washington             Cities publication
            D.C., Boston and New York begin
            1991 - In Bangladesh a cyclone killed over one-hundred and thirty thousand and
            turned nine million homeless
            2008 - Two skeletal remains found near Ekaterinburg, Russia, were confirmed by
            Russian scientists to be the remains of Alexei Nikolaevich, Tsarevich of Russia and
            one of his sisters.
            2009 - Chrysler automobile company files for Chapter 11 bankruptcy.
            2009 - Failed attack on the Dutch Royal Family results in seven deaths and seventeen
            injured.
            2012 - The unfinished One World Trade Center overtakes the Empire State building
            to become the tallest building in New York
            Birthdays
            1777 - Carl Friedrich Gauss, mathematician
            1877 - Alice B. Toklas, American companion of Gertrude
            Stein
            Deaths
            1883 - Édouard Manet, dies at fifty-one. Édouard Manet
            and Claude Monet were French painters of the same era.
            Manet was one of the first nineteenth-century painters to        The Grand Canal of
            paint modern life and played a great role in the transition      Venice, Manet, 1875
            from Realism to Impressionism. Much of Monet's work
            epitomized the Impressionist philosophy of presenting what one perceives from
            nature, and the name of the movement was inspired from the title of his
            painting Impression, soleil levant. The two became friends while in Paris
            1900 - John Luther Jones, dies in Cannonball Express train wreck
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            1945 - Adolf Hitler commits suicide at fifty-six
            1983 - George Balanchine, Russian ballet choreographer, dies from Creutzfeldt-Jakob
            disease at seventy-nine
             
                                             Compiled from various sources online by Cora Frederick




                                     The new edition of The Broadsheet  
                                (April 20 - May 4) is available in lobbies now.




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                                  Downtown News & Events
                                                   Friday May 1st, 2015

            Well?
            BPCA Has Yet to Finalize North Cove Contract with
            Brookfield; Authority Continues to Conceal Bids and Other
            Information; Marina Remains Empty




            Three months after the Battery Park City Authority (BPCA) sparked widespread
            outrage by taking North Cove Marina away from the local resident and small
            businessman who operated highly regarded community programs there for more than
            a decade, and giving the facility (which is legally mapped as parkland) to a pair of
            companies that were major contributors to the reelection campaign of Governor
            Andrew Cuomo (who oversees the BPCA), the Authority has yet to sign a contract
            with the companies it selected to operate the marina, and is unable to announce
            opening dates for any of the public benefits that it promised would result from this
            decision.

            Multiple sources within the BPCA confirm that the Authority continues to negotiate
            with Brookfield Properties, the owner of the giant Brookfield Place retail complex
            that is located directly adjacent to North Cove, and has not yet signed a contract that
            will allow the facility to open. When asked to comment on this, BPCA spokesman
            Kevin McCabe answered on April 29 that, "over the past few months, the Authority
            has been negotiating with Brookfield to finalize our contract with them. A final
            contract is anticipated to be signed in the coming days."

            The lack of a finalized agreement may be viewed as surprising, especially in light of
            the fact that the BPCA took an extra month before announcing its decision about
            North Cove, making the designation public in January, rather than in December of
            last year (as originally scheduled). At the January 22 meeting of the BPCA's board,
            Authority chairman Dennis Mehiel remarked that the additional weeks had allowed
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            the agency to review the terms of its understanding with Brookfield. "We took that
            time, went back, spent a little bit more time, clarified our expectations and their
            commitments," Mr. Mehiel said.

            A source within the BPCA professes bafflement at this development, asking, "how
            did they not have a contract ready and waiting for a signature? Especially when they
            took an extra month to decide, and especially when preparations for the upcoming
            sailing season had to begin immediately?"

            The start of the traditional sailing season is
            now weeks away. As a result of the
            Authority's failure to conclude an agreement
            with the operator they chose, they are also
            unable to announce start dates for any of
            the dozen-plus benefits that they cited as
            justification for the choice of Brookfield
            Properties, a company with no experience in
            managing marinas. (Brookfield partnered in
            its North Cove bid with Island Global
            Yachting, a company that operates luxury                 Dennis Mehiel
            marinas for super yachts. Both Brookfield
            and Island Global's founder, Andrew Farkas, contributed several hundred thousand
            dollars to the 2014 reelection campaign of Governor Andrew Cuomo.)

            At the January 22 meeting, BPCA president Shari Hyman promised that Brookfield's
            offerings would include, "adult courses, a sailing club, summer camp programs,
            disabled sailor programs, water safety courses, Arts Brookfield on the waterfront,
            sailing scholarships, disabled veterans programs, philanthropy regattas, and childhood
            education about Hudson River ecosystem," as well as numerous other benefits.

            When The Broadsheet asked the Authority to specify when each of these programs
            would begin, Mr. McCabe responded, "Once the contract has been fully executed, we
            will issue a press release offering additional details on these amenities." This claim,
            even if borne out, may prove to be of little value to Lower Manhattan residents who
            wish to avail themselves of the marina this summer. Parents who want their children
            to attend a sailing camp in July and August, for example, are now making final
            arrangements. And no option involving North Cove Marina has been available to
            them. Similarly, many of the other benefits promised by Ms. Hyman may turn out to
            be impossible to implement in the short time remaining between now and summer.
            This possibility was not disclosed by the BPCA when it announced that Brookfield
            would be taking over North Cove Marina.

            When asked if failure to implement any (or possibly all) of these programs would
            constitute non-performance on Brookfield's part, raising the possibility that the
            company might be declared in default (which could void their contract), Mr. McCabe
            answered, "No.  These as well as other events and activities are anticipated during the
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            term of the contract." Because the term of Brookfield's agreement with the BPCA
            runs through the year 2025, this appears to raise the possibility some of the amenities
            promised by Brookfield and the Authority may be years away from implementation.

            This prospect could inspire renewed criticism of the BPCA by community leaders
            and elected officials who wanted to preserve a role at North Cove for Michael
            Fortenbaugh, who operated the marina from 2005 through the end of 2014. Mr.
            Fortenbaugh was one of the bidders for the new contract, and was also willing to
            continue running programs there (such as his highly regarded sailing school and
            summer camp) under the aegis of a new operator, in the event that he did not win the
            new contract.

            Indeed, a BPCA source who
            has seen Brookfield's proposal
            says that it contains language
            praising Mr. Fortenbaugh and
            the programs he ran at North
            Cove, and advocates keeping
            him on, to continue operating
            those programs. "In
            Brookfield's response to the
            RFP," this source recalls, "they
            say that the current operator of
            the club is highly respected, we                     Shari Hyman
            should give him right of first
            refusal and we should give him a preferential reduction in rent."

            In any event, none of this has come to pass. Mr. Fortenbaugh says he was never
            offered such an arrangement and Brookfield declined to comment when asked
            whether they would consider it. When asked for a copy of their bid to manage North
            Cove, Brookfield referred The Broadsheet to the Battery Park City Authority. But, for
            the three months since Brookfield was named the new operator, the Authority has
            denied repeated requests under New York State's Freedom of Information Law
            (FOIL) to release this document. Mr. McCabe said, "Until a contract has been signed
            and fully executed, a FOIL response cannot be honored. Section 87.2C of the New
            York State Public Officers law prescribes that prior disclosure would impair current
            or future contract awards."

            This appears to be a misreading of the law. Section 87.2C allows (but does not
            require) an agency to deny the public access to a bidder's proposal, but authorizes
            such a move only when disclosure would directly interfere with a pending contract.
            New York State courts have repeatedly ruled that this exemption is, "to be narrowly
            construed," and that agencies invoking it must provide, "particularized and specific
            justification" for refusing to disclose such records. The BPCA has offered no such
            explanation, insisting instead that the mere fact of the contract with Brookfield not
            yet being signed amounts to a blanket exemption from disclosure requirements under
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            FOIL.

            Bob Freeman, the executive director of the New York State Committee on Open
            Government (the agency legally responsible for overseeing FOIL compliance)
            disagrees with this position. He told The Broadsheet, "I don't know why at this juncture
            disclosure would impair the ability of the agency to make the best possible deal." Mr.
            Freeman has written multiple advisory opinions about similar cases in which he noted
            that, "it is difficult to envision how disclosure... would adversely affect an agency's
            ability to engage in the best contractual arrangement on behalf of the taxpayers."

            When The Broadsheet asked the Authority directly why the arrangement described in
            Brookfield's bid for North Cove (keeping Mr. Fortenbaugh on as a program
            operator) had not been pursued, Mr. McCabe would say only that, "Mr. Fortenbaugh
            has moved his operations to Jersey City. We look forward to the operations of the
            marina being managed by Brookfield."

            In Jersey City, Mr. Fortenbaugh has already opened the sailing school and sailing club
            that he operated for more than a decade at North Cove. He is prepared to open the
            sailing camp for children as soon as school lets out for the summer.

            Two BPCA sources theorize that the reason Mr. Fortenbaugh has been denied a
            place at North Cove is that Authority chairman Dennis Mehiel was angered by the
            widespread criticism surrounding the decision to give the marina to Brookfield. The
            first source says, "before this turned negative, Dennis Mehiel was very sympathetic to
            saying to Brookfield, 'make this work with this guy.'" The second source says,
            "Michael Fortenbaugh needs to apologize to Dennis Mehiel," and speculated that Mr.
            Fortenbaugh would not be allowed to do business at North Cove until this happened.
            A Lower Manhattan elected official directly familiar with the situation says that the
            mention in Brookfield's bid of keeping Mr. Fortenbaugh on at North Cove was not
            meant to be deceptive, but has not come to fruition because, "Brookfield is a tenant
            of the Authority, just like everybody else in Battery Park City, and they aren't going to
            do anything against the BPCA's wishes."




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                                            North Cove, filled with boats, last summer.


             
            When The Broadsheet asked the Authority directly whether Mr. Mehiel required an
            apology of Mr. Fortenbaugh, Mr. McCabe answered, "BPCA looks forward to the
            advancement of the marina under Brookfield's management. We wish the former
            licensee much success in the future."

            Separately, two other widely respected operators of community programs at North
            Cove, the vintage sailing yachts Shearwater and Ventura, are facing an uncertain future.
            Their possible return to North Cove has been put on hold by the BPCA's failure to
            finish negotiations with Brookfield. But a source directly familiar with the situation
            says that preliminary discussions have not been encouraging. This source says initial
            indications are that these vessels will see their seasonal rental more than triple. (Mr.
            Fortenbaugh, as operator of North Cove, did not increase these rates for a decade.)
            When asked to explain this, Mr. McCabe said, "Any negotiations with these entities
            would be with Brookfield once the BPCA contract has been signed."

            In the meantime, the BPCA continues to withhold information it previously
            promised to disclose, while also predicting that such information will vindicate its
            decision to give North Cove to Brookfield. At the January 22 BPCA board meeting,
            Ms. Hyman said, "on October 1, there was a proposal meeting that was recorded and
            we're making the record of that meeting public." Mr. Mehiel added, "we're going to
            make that public... what we believe is that perhaps, if the public has access, which is
            fine, to listen to the pre-proposal meetings, maybe you'll get an idea of the qualitative
            difference among these responders."

            An audio recording of this meeting is available on the BPCA website. During the 15-
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            minute session, Kenneth Windman, the BPCA's director of facilities maintenance,
            speaks for approximately 12 minutes and 30 seconds, explaining procedures
            surrounding the RFP process for North Cove Marina. Another two minutes of the
            recording is devoted to Gwen Dawson, the BPCA's senior vice president of asset
            management, describing upcoming maintenance work at the marina. None of the
            four bidders (including Mr. Fortenbaugh) says anything other than to identify himself
            by name. None of the bidders describes his proposal. It is not clear how this meeting
            led the Authority (or would lead the public) to any conclusions about, "the qualitative
            difference among these responders."

            Asked to explain this, Mr. McCabe seemed to contradict Mr. Mehiel's and Ms.
            Hyman's assertion that the justification for the BPCA's decision was contained in
            the October 1 session. Instead, in an apparent reference to one or more other
            meetings, he said, "these audios will be posted to BPCA's website once the contract is
            executed."

            All of these developments come at a time when the marina would be already be open
            to the public if this year's schedule were the same as the one followed by the previous
            operator, Mr. Fortenbaugh. Instead, it now sits empty.
             
                                                                Matthew Fenton
                                                             Photos by Robert Simko




            Rare Design Element for a Lower Manhattan
            Skyscraper: Consensus
            Trinity Church to Host Third Community Conversation Forum
            about Plans for New Edifice




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            Tomorrow (Saturday, May 2), Trinity Church will continue its ongoing experiment
            with radically inclusive dialog about the structure it plans to build at 74 Trinity Place.
            This will mark the third "charrette" (or "community conversation") about the design
            and use of the structure, to which not only the church's congregation, but everybody
            who lives or works in Lower Manhattan is invited to participate. (The first two
            sessions, in a planned series of six, took place on February 28 and March 14.) Held at
            St. Paul's Chapel, the first two sessions drew several hundred area residents, who
            contributed ideas about how the new building can serve the Lower Manhattan
            community.

            "As you've probably heard, we have a building over here that we want your help and
            advice with," began the Rev. Dr. Bill Lupfer, Trinity's new rector, at the March 14
            session. "But it's more than just the building we're talking about. We're talking about
            programming as well. What kind of programs do you hope and dream of for the
            future?"

            Dr. Lupfer emphasized the broad reach of the invitation to collaborate on the design
            and function of the new building, saying, "we're asking not only people in our parish,
            but also our neighbors and people who don't usually have a voice in this City, the
            hungry and homeless, who have put aside for some reason or other and ignored. We
            want their voices to be heard as well." He also reflected, "the only way we can really
            do that is in community together, in listening carefully about what we are being called
            to do as a community here in Lower Manhattan."

            The rector went on to announce a new focus for plans at the site. "We started with
            four options," he said. "The first was to keep the building at it is, but rehabilitate it.
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            But that would cost $70 million or more to get what we have now. The second was to
            build a condominium above the parish space, but we would have to sell the ground
            beneath the building to do that." He noted that Trinity's board of directors (of which
            Dr. Lupfer is a member) had decided against either of these options. "That leaves two
            possibilities," he said. "A rental apartment tower above the community space, or a
            freestanding parish space and community center."

            The March 14 meeting focused on
            possible uses of this community space.
            Participants brainstormed about ideas
            ranging from multipurpose performance
            spaces and media labs to athletic
            facilities and a reading library, while
            architects from the firm of Pelli Clarke
            Pelli (who will design the project) took
            voluminous notes. This was the second
            such meeting (the first was held
            on February 28), and four more are
            planned for the months ahead. The next
            session is slated for May 2, and will
            concentrate of which uses should be            A mock­up of the initial 2013 plan.
            given prime space at the building's three
            main entrances: one on Greenwich Street, another on Trinity Place, and a third at the
            west end of a pedestrian bridge that will connect the structure to Trinity Church
            itself.

            "Trinity Wall Street has been a focal point of the Downtown community since its
            founding in 1697," Dr. Lupfer said afterward. "We are continuing that tradition by
            building a community parish center that will be open to all. By inviting our
            parishioners, our neighbors and our community leaders to weigh in every step of the
            way at this early stage of the design process, it is our hope that the center will reflect
            the community it serves."

            Community Board 1 chair Catherine McVay Hughes attended the March 14 session,
            where she said, "it is very brave and innovative of Trinity to open up the discussion
            of their headquarters design and invite the community, not once, but six times, to a
            public dialog and to listen to the needs to the community. This is rarely done."

            The invitation to help reconceive the development of 74 Trinity Place (and the
            smaller building next to it, 68 Trinity Place) represents a dramatic break with the
            initial, 2013 plan for the site. Under that proposal, Trinity Church had decided to tear
            down the 25-story office building behind the house of worship that has for decades
            housed its parish office, a highly regarded pre-school, and other tenants. Trinity had
            intended to replace the buildings with a 32-story tower that would contain up to
            seven floors for church use at its base, and 25 floors of residential units above.

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            The May 2 session will be held at St. Paul's Chapel (209 Broadway, at the corner of
            Vesey Street), from 10:00 am through 4:00 pm. (Lunch will be provided.) This session
            will include a presentation of design concepts created by the architects at Pelli Clarke
            Pelli, in response to suggestions offered a the first two charrettes. (These designs are
            intended evolve further, based in the reaction of this in attendance.)

            To R.S.V.P for the Saturday charrette, please call 212-602-0736 or browse
            TrinityWallStreet.org and click on Join the Conversation, where you can also post
            ideas about possible uses for the community space planned for 74 Trinity Place.
                                                               Matthew Fenton
                                                          Top Photo by Robert Simko
                                                   Bottom Photo Courtesy of Pelli Clarke Pelli




            See Spot Rescued
            Middle School Honor Students Run to Raise Funds for 
            Furry Friends




                  Paws to Reflect: Students from the National Junior Honor of the Battery Park City
                   School (I.S. 276) break a sweat for their ideals, participating in the 2014 Run for

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                   Hope, which benefitted cancer charity Gilda's Club. This year's event will raise
                                           money for homeless dogs.


            Sad statistics: Between six and eight million dogs and cats enter American animal
            shelters each year, according to the National Council on Pet Population. About half
            of them are adopted, and the rest are euthanized due to illness, injury or the lack of
            anybody willing to give them a home.

            The kids at the National Junior Honor Society of the Battery Park City School (I.S.
            276) want to do something about that. They are organizing the Run for Hope, a five-
            kilometer run/walk tomorrow (Saturday, May 2), to raise money for See Spot
            Rescued, a non-profit, all-volunteer rescue organization that seeks a loving family and
            permanent place to live for every homeless dog.

            The Run for Hope begins at 9:00 am on the Esplanade, near the Museum of Jewish
            Heritage (enter the park at Battery Place and First Place), proceeds up the Pier 25,
            and then doubles back to finish behind Stuyvesant High School (near Chambers
            Street). The cost of entry is $25. Dogs are not merely welcome, but strongly
            encouraged.

            For more information about See Spot Rescued, click HERE. To sign up for the Run
            for Hope, click HERE. To learn more about the event, please e-mail 
            michael.flegar@bpcschool.org.
             
                                                                Matthew Fenton
                                                        Photo Courtesy of See Spot Rescued




            Letters Dept. 




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                                                North Cove empty of boats last month


            To the editor:

            It is once again disappointing to see what passes as good judgement from the Battery
            Park City Authority.  It was a bad decision to cut off funding for local school
            fundraisers and community groups a couple years ago. It was bad to end the contract
            with the sailing school last year.  It was bad to even think about giving ball field time
            to for-profit groups outside the downtown community.  BUT, it is REALLY bad to
            hire a PR firm to the tune of $45,000 of tax payer money when that "discretionary
            award" money could have helped downtown residents, schools and non-profit groups
            in a big way.  

            The BPC Authority doesn't need a public relations firm. It just needs to have good
            relations with the public.

                                                                                                                        Sincerely, 
                                                                                                                    Wendy Chapman
             
                                                              Photo by Robert Simko
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            Calendar
             




             
            Friday 
             
            Greenmarkets
            City Hall: 8am - 4pm
            Staten Island Ferry Terminal: 8am - 7pm

            Downtown Libraries
            Battery Park City Library
            Fri.10am-5pm. 175 North End Avenue. 212 790-3499. nypl.org
            New Amsterdam Library
            Fri. 10am-5pm. 9 Murray Street 212 732-8186. nypl.org

            Boot Camp Fitness Classes
            A new adult fitness program with experienced instructor Alan Courtenay who strives
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            to keep workouts interactive, fun and adaptable for all fitness levels. The equipment
            used in the class includes bands, rope, kettle-bells and more. The class is offered
            Mondays, Wednesdays and Fridays from 6:15 - 7:15am at 6 River Terrace (across
            from the Irish Hunger Memorial). $264/package of 12 classes; $396/package of 18
            classes. Pre-register at 212.267.9700, ext. 363, or email 6riverterrace@bpcparks 
             
            BPC Seniors
            Standing balance exercises with light aerobics using the DVD "Stronger Seniors with
            Anne Pringle Burnell." Bring a 2-5lb. weight for the arm exercises if you wish. 10:30 -
            11:30am.  Free. 21 West Thames Street.  Click here for more info.




             
            Computer and E-book Assistance for seniors at the Battery Park City Branch
            Library, 175 North End Avenue. 
            Call 212 790 3499 to schedule a one-on-one session with a librarian to have your
            questions answered-everything from introduction to computers, putting library books
            on your e-reader, accessing the internet to advanced searches using the library's
            databases.

             
            Friday Night Family Swim
            Community Center at Stuyvesant High School
            Parents and kids can free-swim together all year round  in the indoor half-Olympic
            sized pool. Bring your own towel, lock and swim cap, pool toys, noodles and floaties
            provided. Dedicated lanes are also available for lap swimmers. Free for members. Day
            Passes $15 for adults and $10 for youth, students and seniors. 7 - 9:45pm. 
http://campaign.r20.constantcontact.com/render?ca=063f1c97­f0d5­4c0e­9d35­6df6d0e638d3&c=5968c120­45c8­11e3­9a71­d4ae5292c4dd&ch=5a4369b0­45c... 13/22
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            Click here for more info.
             
            The Crafting Hour
            The Crafting Hour provides craft activity in a weekly theme such as spring, nature,
            transportation, and more! All craft projects are suitable for boys and girls ages 18
            months through 5 years accompanied by their caregivers. Open on school holidays
            too! Spend quality time with your child while making long lasting mementos of your
            time together. All craft projects are original designs by The Crafty Kids.
            9:30 - 10:30 am. 165 William Street, 8th Floor. Register here
             
             




             
            Saturday
             
            Greenmarkets:
            Tribeca: 8am - 3pm
            Union Square: 8am - 6pm
            Textile Recycling - 8am to 1:30pm
            Compost Collection - 8am to 1pm
            Fulton Stall Market at South Street Seaport 9 am - 4pm
             
            Downtown Libraries
            Battery Park City Library
            Sat. 10am-5pm. 175 North End Avenue. 212 790-3499. nypl.org
            New Amsterdam Library
            Sat. 10am-5pm. 9 Murray Street 212 732-8186. nypl.org
http://campaign.r20.constantcontact.com/render?ca=063f1c97­f0d5­4c0e­9d35­6df6d0e638d3&c=5968c120­45c8­11e3­9a71­d4ae5292c4dd&ch=5a4369b0­45c... 14/22
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            Children's Storytime at Barnes and Noble
            Free every Saturday. 11am. 97 Warren Street. barnesandnoble.com

            Saturday Afternoon Family Swim
            Community Center at Stuyvesant High School
            Parents and kids can free-swim together all year round  in the indoor half-Olympic
            sized pool. Bring your own towel, lock and swim cap, pool toys, noodles and floaties
            provided. Dedicated lanes are also available for lap swimmers. Free for members. Day
            Passes $15 for adults and $10 for youth, students and seniors. 1 - 5pm. 
            Click here for more info.




            Tennis Lessons for Kids
            Community Center at Stuyvesant High School
            Children can learn the fundamentals of the game through core footwork, repetition
            and fun skill drills leading up to games. Ball provided. Bring a racquet.
            Beginner 1: 3 - 3:45pm; Beginner 2: 3:45 - 4:30pm; and Intermediate 1: 4:30 - 5:15pm.
            bpcparks.org 
             
             
            Computer and E-book Assistance for seniors at the Battery Park City Branch
            Library, 175 North End Avenue. 
            Call 212 790 3499 to schedule a one-on-one session with a librarian to have your
            questions answered-everything from introduction to computers, putting library books
            on your e-reader, accessing the internet to advanced searches using the library's
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            Sunday
             
            Greenmarkets
            Fulton Stall Market at South Street Seaport 10 am - 3pm
             
            Badminton at the Community Center at Stuyvesant High School
            Plenty of room for all to enjoy singles or doubles. Rackets provided. 
            Free for members; $15 adult non-members; $10 Seniors/Youth/Student non-
            members. 1:15 - 5:30pm. bpcparks.org

            Swimming Lessons for All Ages
            Community Center at Stuyvesant Hight School
            Practice basic strokes and learn new skills. For ages 6 to adult. This series of classes
            runs through December 7, and there are still spaces to join and pay on a pro-rated
            basis. Beginner 1 - 1:45pm; Advanced Beginner 1:45 - 2:30pm; Intermediate 2:30 -
            3:15pm; Advanced 3:15 - 4pm. To register call 646-210-4292.  bpcparks.org 
             




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            In the Unlikeliest of Places: How Nachman Libeskind Survived the Nazis,
            Gulags, and Soviet Communism 
            Author Annette Libeskind Berkovits in conversation with architect Daniel Libeskind.
            Nachman Libeskind was a Polish Jew who narrowly escaped two murderous
            totalitarian systems, made his way to Israel and, ultimately, New York City, where he
            built a new life as a Modernist painter. His story will be told by his son and daughter. 
            2:30 pm.  $15, $12 members. Museum of Jewissh Heritage.

            Computer and E-book Assistance for seniors at the Battery Park City Branch
            Library, 175 North End Avenue. 
            Call 212 790 3499 to schedule a one-on-one session with a librarian to have your
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            databases.

                                                             Photos by Robert Simko




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            Today in History
             




                       A worker bolts beams during the construction of the Empire State Building
              
            1006 - Supernova observed by Chinese and Egyptians in constellation Lupus
            1776 - Adam Weishaupt, a non-clerical professor of Canon Law and Practical
            philosophy at an otherwise all Jesuit university, founds the secret society of Illuminati
            with four of his Law students. The society, whose name is the plural of the Latin
            word for enlightened, aimed to oppose superstition, obscurantism, religious influence
            over public life and abuses of state power.
            1778 - The Battle of Crooked Billet, of the American Revolution, begins in Hatboro,
            Pennsylvania.
            1841 - First emigrant wagon train leaves Independence, Missouri, for California
            1875 - Alexandra Palace, London, reopens after being burnt down in 1873
            1931 - Empire State Building opens in New York City. As the building opened during
            the Great Depression, much of the office space was initially unrented. In the first
            year, the owners of the
            building made as much
            money from the
            observation deck alone as
            they did from rent, and the

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            building did not become
            profitable until 1950.
            1941 - General Mills
            introduces CheeriOats,
            which were renamed
            Cheerios in 1945.
            1943 - Food rationing
            begins in the United States
            1961 - Fidel Castro
            announces there will be no
            more elections in Cuba
            1963 - First American,
            James Whittaker, conquers
            Mount Everest
            1986 - The Tass press
            agency reports Chernobyl
            nuclear power plant
            mishap
            2003 - In what becomes
            known as the "Mission
            Accomplished" speech,
            U.S. President George W.                 In the Berkshires, George Inness, 1850 
            Bush declares that "major
            combat operations in Iraq have ended" on board the USS Abraham Lincoln off the
            coast of California.
            2010 - Car bomb fails to go off in Times Square, New York City
            2013 - Sixteen people are killed in a flash flood in Saudi Arabia
            Birthdays
            1218 - Rudolph I of Germany, Emperor of the Holy Roman Empire
            1825 - George Inness of the Hudson River School,
            the movement comprised of landscape painters
            heavily influenced by romanticism and depicted the
            Hudson River Valley and near-by areas such as the
            Catskills and Adirondacks. Works by the second
            generation of school expanded to include scenes of
            New England, the Maritimes, the West, and even
            South America.
            1923 - Joseph Heller, Brooklyn, author known
            for Catch-22
            Anniversaries
            1929 - American poet Edward Estlin Cummings,
            often printed as e e cummings to match the style of
            his poems, marries second wife, Anne Minnerly
            Barton                                                      Portrait of David Livingston by
            1967 - King of Rock and Roll Elvis Presley weds                     Frederick Havill
            actress Priscilla Beaulieu at Aladdin Hotel in Las
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            Vegas, Nevada
            Deaths
            1873 - David Livingstone, British physician and explorer of Africa, dies at sixty.
            Livingston's fame as an explorer helped inspire the determination to discover the
            sources of the River Nile
            1904 - Antonín Dvořák, Czech composer
             
                                             Compiled from various sources online by Cora Frederick




                                     The new edition of The Broadsheet  
                                (April 20 - May 4) is available in lobbies now.




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